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Acting United States Attorney cee |

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DEPUTY |

Attorneys for the United States
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, Case No.

Plaintiff,
Vv. PLEA AGREEMENT

TIEN TAN VO,

Defendant.

IT IS HEREBY AGREED between the plaintiff, UNITED STATES OF AMERICA,
through its counsel, Andrew R. Haden, Acting United States Attorney, and
Nicholas W. Pilchak, Assistant U.S. Attorney, and Defendant, TIEN TAN
VO, through his counsel, Jeremy Warren and Michael Aguirre, as follows:

I
THE PLEA

Defendant agrees to waive indictment and plead guilty to an
Information, charging Defendant with (1) Accessory After the Fact to
Entry of Goods by Means of False Statement, in violation of Title 18,
United States Code, Sections 542 and 3, and (2) Receipt in Interstate
Commerce of Misbranded Drugs and Delivery for Pay or Otherwise, in

violation of Title 21, United States Code, Sections 331(c) and

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333(a) (1). In addition, Defendant consents to the forfeiture
allegations of the Information.
IL

NATURE OF THE OFFENSE

A. ELEMENTS EXPLAINED

The offenses to which Defendant is pleading guilty have the
following elements:

Count 1

ds The crime of entry of goods by means of false statement had
been committed by another person;

Zs The defendant knew that this crime had been committed and
that the specific person had committed it; and

3. The defendant thereafter intentionally received, relieved,
comforted, or assisted the specific person in order to hinder
and prevent that person’s apprehension, trial or punishment
for the crime of entry of goods by means of false statement.

In turn, the elements of entry of goods by means of false statement

are:

Li. Foreign, unapproved drugs and devices were imported;

Dy The defendant introduced those goods into the commerce of the
United States;

3. The defendant did so by means of a false verbal statement,
which he knew was false; and

4, The statement was material to the entry of the merchandise.

Count 2

lL. The defendant received in interstate commerce;
A drug or device

3 That was adulterated or misbranded; and

a Delivered or proffered delivery of it for pay or otherwise.

B. ELEMENTS UNDERSTOOD AND ADMITTED — FACTUAL BASIS

Defendant has fully discussed the facts of this case with defense

counsel. Defendant has committed each of the elements of the crime,

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and admits that there is a factual basis for this guilty plea. The

following facts are true and undisputed:

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Defendant has been a doctor licensed to practice medicine by
the State of California since 2010. Between at least November
2016 and October 2020, defendant provided cosmetic services
at his medical clinics, including the use of injectable
botulinum toxin and lip fillers, to more than 10 patients.

During that time, defendant exclusively used foreign,
unapproved injectable botulinum toxin and lip fillers in his
cosmetic practice. This specifically included Xeomeen and

the injectable lip filler Probcel, neither of which is
approved for use in the United States. Defendant admits that
the Xeomeen and Probcel used in his practice were misbranded
because they were unapproved and not labeled for use in the
United States.

Defendant’s unapproved cosmetic drugs and devices were
chiefly supplied by Person 1, who operated a “med spa” in
Mexicali and smuggled the drugs and devices into the United
States and sold them to Defendant. Defendant knew that
Person 1 brought the unapproved drugs and devices into the
United States from Mexico without declaring them. Defendant
expressly admits that the false statements Person 1 made to
import the drugs and devices were material.

Defendant accepted delivery of such unapproved drugs and
devices from Person 1, knowing that they had been entered
into the United States by means of false statements.
Defendant knew his receipt of the unapproved drugs and devices
helped Person 1 avoid apprehension, including by failing to
report Person 1's conduct to authorities.

On or about February 4, 2020, Defendant took delivery of
twenty (20) boxes of one hundred (100) units each of “Xeomeen”
powder, containing botulinum toxin, from Person 1 at his
clinic in Imperial County, California. Defendant admits that
the drugs were received in interstate commerce, that they
were misbranded, and that he paid Person 1 for them.

Defendant admits that he received $100,767.00 in gross

receipts for the use of the unapproved drugs and devices in
his cosmetic practice between November 2016 and October 2020.

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PENALTIES

crimes to which Defendant is pleading guilty carry the

following penalties:

Count 1

A. a maximum of 1 year in prison;

B. a maximum fine of $100,000 or twice the pecuniary gain or
loss;

Cc. a mandatory special assessment of $25;

Di. a term of supervised release of up to 1 year. Failure to comply with
any condition of supervised release may result in revocation
of supervised release, requiring Defendant to serve in
prison, upon revocation, all or part of the statutory maximum
term of supervised release; and

Ei, forfeiture of any property constituting or derived from
proceeds obtained directly or indirectly as a result of the
violation.

Count 2

A. a maximum of 1 year in prison;

B. a maximum fine of $1,000 or twice the pecuniary gain or loss;

Ges a mandatory special assessment of $25; and

Ds a term of supervised release of up to 1 year. Failure to comply with

any condition of supervised release may result in revocation
of supervised release, requiring Defendant to serve in
prison, upon revocation, all or part of the statutory maximum
term of supervised release.

Iv

DEFENDANT'S WAIVER OF TRIAL RIGHTS AND UNDERSTANDING OF CONSEQUENCES

This guilty plea waives Defendant’s right at trial to:

A,

Continue to plead not guilty and require the Government to
prove the elements of the crime beyond a reasonable doubt;

A speedy and public trial by jury;

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Cs The assistance of counsel at all stages;
D. Confront and cross-examine adverse witnesses;
E. Testify and present evidence and to have witnesses testify on

behalf of Defendant; and,

EB. Not testify or have any adverse inferences drawn from the
failure to testify.

Vv

DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION

Any information establishing the factual innocence of Defendant
known to the undersigned prosecutor in this case has been turned over
to Defendant. The United States will continue to provide such
information establishing the factual innocence of Defendant.

If this case proceeded to trial, the United States would be
required to provide impeachment information for its witnesses. In
addition, if Defendant raised an affirmative defense, the United States
would be required to provide information in its possession that supports
such a defense. By pleading guilty Defendant will not be provided this
information, if any, and Defendant waives any right to this information.
Defendant will not attempt to withdraw the guilty plea or to file a
collateral attack based on the existence of this information.

VI

DEFENDANT'S REPRESENTATION THAT GUILTY
PLEA IS KNOWING AND VOLUNTARY

Defendant represents that:

A. Defendant has had a full opportunity to discuss all the facts
and circumstances of this case with defense counsel and has
a clear understanding of the charges and the consequences of
this plea. By pleading guilty, Defendant may be giving up,
and rendered ineligible to receive, valuable government
benefits and civic rights, such as the right to vote, the
right to possess a firearm, the right to hold office, and the
right to serve on a jury. The conviction in this case may
subject Defendant to various collateral consequences,

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including but not limited to revocation of probation, parole,
or supervised release in another case; debarment from
government contracting; and suspension or revocation of a
professional license, none of which can serve as grounds to
withdraw Defendant’s guilty plea.

B. No one has made any promises or offered any rewards in return
for this guilty plea, other than those contained in this
agreement or otherwise disclosed to the Court.

Cc. No one has threatened Defendant or Defendant's family to
induce this guilty plea.

D. Defendant is pleading guilty because Defendant is guilty and
for no other reason.
VII

AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE
SOUTHERN DISTRICT OF CALIFORNIA

This plea agreement is limited to the United States Attorney's
Office for the Southern District ef California and cannot bind any other
authorities in any type of matter, although the United States will bring
this plea agreement to the attention of other authorities if requested
by Defendant.

VIII

APPLICABILITY OF SENTENCING GUIDELINES

The sentence imposed will be based on the factors set forth in 18
U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must
consult the United States Sentencing Guidelines (Guidelines) and take
them into account. Defendant has discussed the Guidelines with defense
counsel and understands that the Guidelines are only advisory, not
mandatory. The Court may impose a sentence more severe or less severe
than otherwise applicable under the Guidelines, up to the maximum in
the statute of conviction. The sentence cannot be determined until a
presentence report is prepared by the U.S. Probation Office and defense

counsel and the United States have an opportunity to review and

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challenge the presentence report. Nothing in this plea agreement limits
the United States’ duty to provide complete and accurate facts to the
district court and the U.S. Probation Office.

IX

SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

This plea agreement is made pursuant to Federal Rule of Criminal
Procedure l11(c) (1) (B). The sentence is within the sole discretion of the
sentencing judge who may impose the maximum sentence provided by statute.
It is uncertain at this time what Defendant’s sentence will be. The United
States has not made and will not make any representation about what
sentence Defendant will receive. Any estimate of the probable sentence by
defense counsel is not a promise and is not binding on the Court. Any
recommendation by the United States at sentencing also is not binding on
the Court. If the sentencing judge does not follow any of the parties’
sentencing recommendations, Defendant will not withdraw the plea.

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PARTIES' SENTENCING RECOMMENDATIONS

A. SENTENCING GUIDELINE CALCULATIONS

Although the Guidelines are only advisory and just one factor the
Court will consider under 18 U.S.C. § 3553(a) in imposing a sentence,
the parties will jointly recommend the following Base Offense Level,
Specific Offense Characteristics, Adjustments, and Departures for these
Class A misdemeanors (see USSG § 1B1.9):
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‘3 Base Offense Level, § 2Bl.1(a)(2)+ 6
2. Loss >$40,000, § 2Bl1.1(b) (1) (D) +6
3s 10 or More Victims, § 2Bl1.1(b) (2) (A) (i) +2
4, Abuse of Trust & Special Skill, § 3B1.3 +2
By Acceptance of Responsibility, §§ 3E1.1(a)/(b) =3
6. Combination of Circumstances, § 5K2.0 =e

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The parties agree to jointly recommend the departure for
combination of circumstances based on Defendant’s disposition of the
case including waiver of appeal.

B: ACCEPTANCE OF RESPONSIBILITY

Despite paragraph A above, the United States need not recommend an
adjustment for Acceptance of Responsibility if Defendant engages in
conduct inconsistent with acceptance of responsibility including, but

not limited to, the following:

ys Fails to truthfully admit a complete factual basis as
stated in the plea at the time the plea is entered, or
falsely denies, or makes a statement inconsistent with,
the factual basis set forth in this agreement;

Bie Falsely denies prior criminal conduct or convictions;

3. Is untruthful with the United States, the Court or
probation officer;

4, Breaches this plea agreement in any way; or

Bus Transfers or conceals property (or properties) that

would otherwise be available for payment of restitution.

c. FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING
THOSE UNDER 18 U.S.C. § 3553

Defendant may recommend additional downward adjustments,

departures, including Criminal History departures under USSG § 4A1.3, or

1 See also USSG § 2T3.1 cmt. n. 2.
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sentence reductions under 18 U.S.C. § 3553. The United States may oppose
any such adjustments or departures not set out above.

D. NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY

The parties have no agreement as to Defendant's Criminal History Category.

E. "FACTUAL BASIS” AND “RELEVANT CONDUCT" INFORMATION

The facts in the “factual basis” paragraph of this agreement are true
and may be considered as “relevant conduct” under USSG § 1B1.3 and as the
nature and circumstances of the offense under 18 U.S.C. § 3553(a)({1).
Defendant understands and agrees that, notwithstanding the parties’ joint
recommendation regarding the sentencing guidelines and join recommendation
for probation set out in this agreement, the United States will introduce
(and Defendant may contest) “relevant conduct” information for sentencing
pertaining to Defendant’s concealment of his use of foreign, unapproved
drugs and devices from his cosmetic customers. Introduction of such
information at sentencing, or argument based on the same, shall not amount
to breach of this agreement.

F. PARTIES’ RECOMMENDATIONS REGARDING CUSTODY

The parties will jointly recommend that defendant be sentenced to
three years of probation in lieu of custody, with one hundred (100)
hours of community service as a special condition of probation.

G. SPECIAL ASSESSMENT /FINE /FORFEITURE /RESTITUTION

1. Special Assessment

The parties will jointly recommend that defendant pay a special
assessment in the amount of $25.00 per misdemeanor count of conviction
to be paid forthwith at time of sentencing. Defendant shall pay the

special assessment through the office of the Clerk of the District Court

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by bank or cashier's check or money order made payable to the “Clerk,
United States District Court.”

2. Fine

The United States will recommend a total fine in the amount of
$201,534.

3: Forfeiture & Restitution

Defendant consents to the forfeiture allegations of the
Information. The parties agree that forfeiture and restitution shall be
governed by the provisions of the attached financial addendum.

H. SUPERVISED RELEASE & PROBATION

If the Court imposes a term of probation or supervised release,
Defendant agrees that he will not later seek to reduce or terminate
early the term of probation or supervised release until he has served
at least 2/3 of his term of supervised release or probation and has
fully paid and satisfied any special assessments, fine, criminal
forfeiture judgment and restitution judgment imposed by the Court.

XI

DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

Defendant waives (gives up) all rights to appeal and to collaterally
attack every aspect of the conviction and sentence, including any
forfeiture or restitution order. The only exception is that Defendant
may collaterally attack the conviction or sentence on the basis that
Defendant received ineffective assistance of counsel. Defendant also
explicitly waives any challenge to the constitutionality of the statutes
to which Defendant is pleading. If Defendant appeals, the United States

may Support on appeal the sentence or restitution order actually imposed.

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BREACH OF THE PLEA AGREEMENT

Defendant and Defendant's attorney know the terms of this agreement
and shall raise, before the sentencing hearing is complete, any claim
that the United States has not complied with this agreement. Otherwise,
such claims shall be deemed waived (that is, deliberately not raised
despite awareness that the claim could be raised), cannot later be made
to any court, and if later made to a court, shall constitute a breach
of this agreement.

Defendant breaches this agreement if Defendant violates or fails
to perform any obligation under this agreement. The following are non-

exhaustive examples of acts constituting a breach:

Les Failing to plead guilty pursuant to this agreement;

2. Failing to fully accept responsibility as established in
Section X, paragraph B, above;

Bis Failing to appear in court;

4, Attempting to withdraw the plea;

Bis Failing to abide by any court order related to this case;

6. Appealing (which occurs if a notice of appeal is filed)

or collaterally attacking the conviction or sentence in
violation of Section XI of this plea agreement; or

Ts Engaging in additional criminal conduct from the time of
arrest until the time of sentencing.

If Defendant breaches this plea agreement, Defendant will not be
able to enforce any provisions, and the United States will be relieved
of all its obligations under this plea agreement. For example, the
United States may proceed to sentencing but recommend a different
sentence than what it agreed to recommend above. Or the United States

may pursue any charges including those that were dismissed, promised to

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be dismissed, or not filed as a result of this agreement (Defendant
agrees that any statute of limitations relating to such charges is
tolled indefinitely as of the date all parties have signed this
agreement; Defendant also waives any double jeopardy defense to such
charges). In addition, the United States may move to set aside
Defendant’s guilty plea. Defendant may not withdraw the guilty plea
based on the United States’ pursuit of remedies for Defendant's breach.
Additionally, if Defendant breaches this plea agreement: (i) any
statements made by Defendant, under oath, at the guilty plea hearing
(before either a Magistrate Judge or a District Judge); (ii) the factual
basis statement in Section II.B in this agreement; and (iii) any
evidence derived from such statements, are admissible against Defendant
in any prosecution of, or any action against, Defendant. This includes
the prosecution of the charge that is the subject of this plea agreement
or any charge(s) that the United States agreed to dismiss or not file
as part of this agreement, but later pursues because of a breach by
the Defendant. Additionally, Defendant knowingly, voluntarily, and
intelligently waives any argument that the statements and any evidence
derived from the statements should be suppressed, cannot be used by the
United States, or are inadmissible under the United States Constitution,
any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(f£) of
the Federal Rules of Criminal Procedure, and any other federal rule.
XIII

CONTENTS AND MODIFICATION OF AGREEMENT

This plea agreement embodies the entire agreement between the

parties and supersedes any other agreement, written or oral. No

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modification of this plea agreement shall be effective unless in writing

Signed by all parties.

XIV

DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

By signing this agreement, Defendant certifies that Defendant has

read it (or that it has been read to Defendant in Defendant’s native

language). Defendant has discussed the terms of this agreement with

defense counsel and fully understands its meaning and effect.

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XV

DEFENDANT SATISFIED WITH COUNSEL

Defendant has consulted with counsel and is satisfied with counsel’s

representation. This is Defendant’s independent opinion, and Defendant’s

counsel did not advise Defendant about what to say in this regard.

August 21, 2023
DATED

August 20, 2023
DATED

August 20, 2023
DATED

ANDREW R. HADEN
Acting United States Attorney

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NICHOLAS W. PILCHAK
Assistant U.S. Attorney

/s/ Jeremy Warren pl

cEREEY WARREN

/s/ Te

MICHAEL AGUIRRE
Defense Counsel

IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
PENALTY OF PERJURY THAT THE FACTS IN THE “FACTUAL BASIS” SECTION ABOVE

ARE TRUE.

08/20/2023
DATED

Approved by:

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Victor P. White
Assistant U.S. Attorney

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TIEN TAN VO
Defendant

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United States v. Tien Tan VO, Case No.

FINANCIAL ADDENDUM

Lis Defendant’s conviction will include financial penalties such as a
forfeiture, fine, and restitution. Defendant understands and agrees
that both forfeiture and restitution are mandatory for the offense to
which he is pleading guilty. In addition, Defendant agrees and under-
stands that he is agreeing to the imposition of restitution for all
relevant conduct, beyond the offense of conviction. This Financial Ad-
dendum is incorporated into and part of Defendant’s plea agreement, and
the additional terms and warnings below apply.
A. Forfeiture

aa In addition to the penalties outlined in the plea
agreement, federal law states Defendant must forfeit any property
constituting, or derived from, proceeds obtained, directly or
indirectly, as a result of such violation.

ii. As part of Defendant’s guilty plea to Count 1 of the
Information, as set forth in section I of the plea agreement, Defendant
agrees to forfeit, via entry of a personal money judgment against
Defendant, the amount of $100,767.00.

iii. The money judgment against Defendant represents monies
subject to forfeiture to the United States as proceeds Defendant
personally received from the illegal conduct in violation of 18 U.S.C.
§§ 542 and 3 and are subject to forfeiture to the United States pursuant
to Title 18, United States Code, Section 982(a) (2) (B).

iv. Defendant consents and agrees to the immediate entry of
a forfeiture money judgment in the amount of $100,767.00. Defendant
agrees that upon entry of the order of forfeiture, such order shall be

final as to Defendant. Defendant agrees to immediately withdraw any

Financial Addendum Def. Initials aE

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claims in pending administrative or civil forfeiture proceedings to
properties seized in connection with this case that are directly or
indirectly related to the criminal conduct. Defendant agrees that upon
signing this Financial Addendum, he is withdrawing both upon his own
behalf and on behalf of his business and any and all entities which he
owns or controls, all claims filed in any and all administrative
forfeiture proceedings. Defendant agrees to execute all documents
requested by the Government to facilitate or complete the forfeiture
process, including but not limited to a Notice of Abandonment and Assent
to Forfeiture of Prohibited or Seized Merchandise form. Defendant
further agrees not to contest, or to assist any other person or entity
in contesting, the forfeiture of property seized in connection with
this case. Contesting or assisting others in contesting the forfeiture
shall constitute a material breach of the plea agreement, relieving the
Government of all its obligations under the agreement including but not
limited to its agreement to recommend an adjustment for Acceptance of
Responsibility. Defendant agrees that the criminal forfeiture money
judgment imposed by the Court will be (i) subject to immediate
enforcement, and (ii) submitted to the Treasury Offset Program (TOP) so
that any federal payment or transfer of returned property the Defendant
receives may be offset and applied to the outstanding balance on the
forfeiture judgment. Defendant waives all notices with respect to TOP
and all offsets.

ve Defendant consents and agrees to the entry of orders of
forfeiture for all forfeitable property and waives the requirements of
Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of

the forfeiture in the charging instrument, announcement of the

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forfeiture at sentencing, and incorporation of the forfeiture in the
judgment. Defendant understands that the forfeiture of assets is part
of the sentence that must be imposed in this case and waives any failure
by the Court to advise defendant of this, pursuant to Rule 11(b) (1) (J),
at the time the Court accepts the guilty plea.
vi. Defendant agrees to take all steps as requested by the
United States to pass clear title to forfeitable assets to the United
States and to testify truthfully in any judicial forfeiture proceeding.
vii. Defendant agrees that the forfeiture provisions of this
plea agreement are intended to, and will, survive defendant, notwith-
standing the abatement of any underlying criminal conviction after the
execution of this agreement. The forfeitability of any particular prop-
erty pursuant to this agreement shall be determined as if defendant had
survived, and that determination shall be binding upon defendant’s
heirs, successors and assigns until the agreed forfeiture, including
the $100,767.00 agreed-upon money judgment, is collected in full.
Vila. Defendant acknowledges and agrees that the
forfeiture in this case includes entry of a personal money judgment
against Defendant in the amount of $100,767.00, and that interest shall
accrue on the judgment from the date of entry of the Order of Forfeiture
in accordance with 18 U.S.C. § 3612(f) and 28 U.S.C. § 1961. The
Defendant agrees that the United States may take all actions available
to it to collect the full amount of the judgment, including enforcement
of the judgment against substitute assets as provided in 18 U.S.C.
§ 982(b), which incorporates 21 U.S.C. § 853(p), and actions available
under the Federal Debt Collections Procedure Act. Defendant shall

receive credit against the agreed-upon money judgment for any amount of

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restitution actually paid voluntarily and timely by Defendant himself
in this case. Defendant is not entitled to any credit against the
forfeiture money judgment for any substitute assets enforced by the
Government or for any collection actions taken by the Government as to
either the forfeiture or restitution. Defendant is not entitled to any
credit against the forfeiture money judgment for any proceeds received
from the sale of forfeited personal property.

B. Restitution

ds The crime to which Defendant is pleading guilty requires
an order from the Court pursuant to 18 U.S.C. § 3663A that Defendant
make mandatory restitution to the victims of the offense of conviction
or the estates of the victims.

ii. The amount of restitution ordered by the Court shall
include restitution to any person directly harmed by the Defendant's
criminal conduct in the course of the scheme, conspiracy, or pattern.
The Court may also order restitution to persons other than the victims
of the offense of conviction. Restitution may include losses arising
from counts dismissed and charges not prosecuted as well as all relevant
conduct in connection with those counts and charges. Defendant ex-
pressly agrees to the entry of restitution for all relevant conduct.

iii. The parties estimate the amount of restitution will be
at least $100,767.00. Defendant understands that this is only an es-
timate based on currently available information. The Government will
recommend restitution of at least $100,767.00, but the amount may be
higher depending on information at sentencing. The Court may impose
restitution of any amount. Defendant agrees that a restitution award

in an unanticipated amount is not grounds to withdraw Defendant’s guilty

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plea. Defendant also agrees that nothing in this plea agreement or
financial addendum limits the Government’s duty to provide complete and
accurate facts to the district court and to the U.S. Probation Office
to calculate restitution.

iv. Notwithstanding any order of the Court, Defendant agrees
the total amount of restitution shall be due immediately and the parties
agree to jointly recommend to the Court that restitution be ordered to
be paid immediately. Any payment schedule imposed by the Court estab-
lishes only a minimum obligation. Regardless of Defendant’s compliance
with any Court ordered payments, any payment schedule does not foreclose
the United States from exercising all legal actions, remedies, and
process available to it to collect the full amount of unpaid restitu-
tion, including but not limited to remedies pursuant to 18 U.S.C.
$§ 3613 and 3664 (m) (1) (A).

B. FINE.

Bliss The parties will jointly recommend a fine in the amount
of $201,534.00. The parties agree that notwithstanding any Court im-
posed schedule for payment of a fine, the total amount of the fine shall
be due immediately and shall be deemed to be payable forthwith. Any
payment schedule for a fine imposed by the Court establishes only a
minimum obligation. Regardless of Defendant’s compliance, any payment
schedule does not foreclose the United States from exercising all legal
actions, remedies, and process available to collect the fine, including
but not limited to remedies pursuant to 18 U.S.C. § 3613.

2 The United States may run credit and other financial reports on
Defendant using public and non-public databases and share such infor-

mation with the Court and the U.S. Probation Office. Defendant also

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authorizes the Internal Revenue Service to transmit to the United States
Attorney’s Office copies of Defendant’s tax returns until the fine and
restitution are paid in full and forfeiture proceedings are completed,
and Defendant will promptly execute any documents necessary to carry
out this authorization.

Bu Not later than 30 days after execution of the plea agreement,
Defendant shall complete and provide to the United States, under penalty
of perjury, a financial disclosure form listing all Defendant’s current
and projected assets and financial interests valued at more than $1,000.
These include all assets and financial interests in which Defendant has
an interest (or had an interest prior to October 5, 2020), direct or
indirect, whether held in Defendant's name or in the name of another,
in any property, real or personal, including marital and community
property. Defendant shall also identify all assets valued at more than
$1,000 which have been transferred to any third party since October 5,
2020, including the location of the assets, the identity of the third
party or parties, and the amount of consideration received by the De-
fendant for the transferred assets. Defendant will provide complete,
updated financial information promptly upon request.

4, From the date this plea agreement is executed until the fine,
forfeiture and/or restitution is paid in full and forfeiture proceedings
are completed, Defendant shall notify the Asset Recovery Section, United
States Attorney's Office, of (i) any interest in property worth more
than $1,000 that Defendant obtains, directly or indirectly, and (ii) at
least 30 days before Defendant transfers any interest in property owned
directly or indirectly by Defendant worth over $1,000. This obligation

covers any interest in property obtained under any other name or entity,

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including a trust, partnership or corporation. The parties will jointly
recommend that this requirement also be imposed as a condition of su-
pervised release.

Di. Defendant shall immediately notify the Asset Recovery Section of
the United States Attorney's Office of any material change in Defend-
ant’s financial condition.

6. Defendant will make a good faith effort to pay all forfeiture,
restitution and fines ordered by the Court. Regardless of Defendant’s
compliance with any payment schedule established by the Court, any
payment schedule does not limit the United States’ ability to collect
additional amounts from Defendant through all available collection rem-
edies at any time. Defendant waives all demands for payment of the
restitution and fine. Defendant agrees to the entry of the restitution
and fine into the Treasury Offset Program (“TOP”) and waives all notices
of TOP and offsets, and waives all rights to contest TOP offsets.

7. The fine and/or restitution shall be paid through the Office of
the Clerk of the District Court by bank or cashier’s check or money
order referencing the criminal case number and made payable to the
“Clerk, United States District Court.”

8. Defendant waives all right to appeal the forfeiture, restitution,
and fine imposed by the Court.

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Defendant understands that the main plea agreement and this
financial addendum embody the entire plea agreement between the parties

and supersedes any other agreement, written or oral.

Tanlaw Yo

08/20/2023
Date TIEN TAN VO
Defendant
August 20, 2023 /s/ Jeremy Warren YossWewn
Date JEREMY WARREN

Defense Counsel

August 20, 2023 6/Michael Aéuibte {2

Date MICHAEL AGUIRRE
Defense Counsel

August 21, 2023 NWN

Date ANDREW R. HADEN
Acting United States Attorney
NICHOLAS W. PILCHAK
Assistant U.S. Attorney

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